                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 1 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of Minnesota



Joanna Burke

                                                    Plaintiff(s),
v.                                                                            Case No. 0:23−cv−01119−WMW−DJF

PHH Mortgage Corporation et al.

                                                    Defendant(s),



                                                   SUMMONS IN A CIVIL ACTION

To: PHH Mortgage Corporation


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Joanna Burke
                                     46 Kingwood Greens Dr
                                     Kingwood, TX 77339

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: April 24, 2023
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−01119−WMW−DJF

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 3 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of Minnesota



Joanna Burke

                                                    Plaintiff(s),
v.                                                                            Case No. 0:23−cv−01119−WMW−DJF

PHH Mortgage Corporation et al.

                                                    Defendant(s),



                                                   SUMMONS IN A CIVIL ACTION

To: Hopkins Law, PLLC


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Joanna Burke
                                     46 Kingwood Greens Dr
                                     Kingwood, TX 77339

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: April 24, 2023
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 4 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−01119−WMW−DJF

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 5 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of Minnesota



Joanna Burke

                                                    Plaintiff(s),
v.                                                                            Case No. 0:23−cv−01119−WMW−DJF

PHH Mortgage Corporation et al.

                                                    Defendant(s),



                                                   SUMMONS IN A CIVIL ACTION

To: Mark D. Hopkins


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Joanna Burke
                                     46 Kingwood Greens Dr
                                     Kingwood, TX 77339

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: April 24, 2023
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 6 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−01119−WMW−DJF

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 7 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of Minnesota



Joanna Burke

                                                    Plaintiff(s),
v.                                                                            Case No. 0:23−cv−01119−WMW−DJF

PHH Mortgage Corporation et al.

                                                    Defendant(s),



                                                   SUMMONS IN A CIVIL ACTION

To: Shelley L. Hopkins


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Joanna Burke
                                     46 Kingwood Greens Dr
                                     Kingwood, TX 77339

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: April 24, 2023
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 8 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−01119−WMW−DJF

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
                        CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 9 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of Minnesota



Joanna Burke

                                                    Plaintiff(s),
v.                                                                            Case No. 0:23−cv−01119−WMW−DJF

PHH Mortgage Corporation et al.

                                                    Defendant(s),



                                                   SUMMONS IN A CIVIL ACTION

To: Christina Gardner


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Joanna Burke
                                     46 Kingwood Greens Dr
                                     Kingwood, TX 77339

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                   By:




                                                                                         Kate M. Fogarty, Clerk of Court


Date of Issuance: April 24, 2023
                       CASE 0:23-cv-01119-WMW-DJF Doc. 6 Filed 04/24/23 Page 10 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action


Civil Action No. 0:23−cv−01119−WMW−DJF

                                                     PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for (name of individual and title, if any)___________________________________________
was received by me on (date) __________________.

            I personally served the summons on the individual at (place)__________________________________
            _______________________________ on (date) ____________; or

            I left the summons at the individual's residence or usual place of abode with (name) ________________
            _____________________________, a person of suitable age and discretion who resides there,
            on (date)________________, and mailed a copy to the individual's last known address; or

            I served the summons on (name of individual) ______________________, who is
            designated by law to accept service of process on behalf of (name of organization)__________________
            ________________ on (date) ___________; or

            I returned the summons unexecuted because _____________________________; or

            Other (specify):


      My fees are $______________ for travel and $______________ for services, for a total of $______________.

      I declare under penalty of perjury that this information is true.

Date: ______________                                                ____________________________________________
                                                                                    Server's signature

                                                                    ____________________________________________
                                                                                   Printed name and title


                                                                    ____________________________________________
                                                                                     Server's address

Additional information regarding attempted service, etc:
